           Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 1 of 28




 1 David V. Roth (State Bar No. 194648)
    dvr@manningllp.com
 2 Chandra Carr (State Bar No. 315259)
    czc@manningllp.com
 3 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
   San Francisco, California 94111
 5 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 6
   Attorneys for Defendant, TARGET
 7 CORPORATION (erroneously sued herein as
   Target – Alameda, CA)
 8
                                 UNITED STATE DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10

11
     BRYON JACKSON,                                         Case No. RG21110499
12
                        Plaintiff,                          NOTICE OF REMOVAL BY
13                                                          DEFENDANT TARGET CORPORATION
               v.
14
   TARGET – ALAMEDA, CA                                     Action Filed:           August 24, 2021
15 2700 FIFTH ST ALAMEDA, CA,

16                      Defendant.

17
              TO THE CLERK OF THE ABOVE-ENTITLED COURT:
18
              PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332 and 1441 Defendant
19
     TARGET CORPORATION by and through its attorneys, Manning & Kass, Ellrod, Ramirez,
20
     Trester LLP, hereby removes to this Court the above-captioned state court action from the
21
     Superior Court of the State of California in and for the County of Alameda, in which it is currently
22
     pending, and state as set forth below.
23
                                                  JURISDICTION
24
              1.        This action is a civil action over which this Court has original jurisdiction based on
25
     diversity of citizenship pursuant to 28 U.S.C. section 1332(a), and which may be removed to this
26
     Court by Target Corporation pursuant to 28 U.S.C. section 1444(b) because it is a civil action
27
     between citizens of different states and because the matter in controversy exceeds the sum of
28

     4812-1628-1855.1
                         NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
           Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 2 of 28




 1 $75,000.00, exclusive of interest and costs. Plaintiff and Defendant, are, and have

 2 been, citizens of different states at all times, and therefore, complete diversity exists in this action,

 3 as stated below:

 4            2.        Plaintiff’s Citizenship: Plaintiff is a resident of the State of California, and on
 5 information and belief as evidenced on the Complaint, resides in the County of Alameda. For

 6 purposes of evaluating diversity, a person is a “citizen” of the state in which he or she is

 7 domiciled. See Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088 (9th Cir. 1983); see also Kantor

 8 v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (a person’s domicile is the place she

 9 resides with the intent to remain.) Accordingly, Plaintiff is a citizen of the State of California.

10            3.        Defendant’s Citizenship: For purposes of diversity jurisdiction, a corporation
11 “shall be deemed to be a citizen of every State. . .by which it has been incorporated and of the

12 State. . .where it has its principal place of business. . . .” 28 U.S.C. § 1332(c)(1). Defendant is a

13 corporation incorporated under the laws of the State of Minnesota, with its headquarters and its

14 principal place of business in Minneapolis, Minnesota. Target's Executive Officers and senior

15 management, including, but not limited to, the Chief Executive Officer, Chief Operating Officer,

16 Chief Financial Officer, Chief Legal Officer, Chief Marketing Officer, Chief Human Resources

17 Officer, and Chief Stores Officer, were and are located at Target Headquarters in Minnesota. At

18 all times material hereto, Target's managerial and policymaking functions, including, but not
19 limited to, finance, marketing, merchandising, legal, technology services, store operations, human

20 resources, and property development, were and are performed at and promulgated from Target

21 Headquarters in Minnesota. Accordingly, Target is a citizen of Minnesota. See, e.g., Hertz Corp.

22 v. Friend, 559 U.S. 77, 92-93 (2010) (“We conclude that ‘principal place of business’ is best read

23 as referring to the place where a corporation’s officers direct, control, and coordinate the

24 corporation’s activities.”); Breitman v. May Co. Cal., 37 F.3d 562, 564 (9th Cir. 1994)

25 (corporation was citizen of state in which its corporate headquarters were located and where its

26 executive and administrative functions were performed.)
27            4.        Target is the only named Defendant in this action. Plaintiff has neither identified

28 nor served any other Defendants who might be included as “DOES 1-50, inclusive.”

     4812-1628-1855.1                                      2
                         NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
           Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 3 of 28




 1            5.        Because Plaintiff is a citizen of a state different than Target Corporation, minimal

 2 diversity exists for purposes of establishing jurisdiction. See 28 U.S.C. § 1332(a)(1).

 3                          AMOUNT IN CONTROVERSY EXCEEDING $75,000
 4            6.        This Court has jurisdiction over this case because the amount placed in controversy

 5 by Plaintiff’s alleged claims exceeds $75,000.00, exclusive of interests and costs. See 28 U.S.C. §

 6 1332(a).

 7            7.        Plaintiff’s Complaint prays for damages in excess of $75,000.00 thus satisfying the

 8 amount-in-controversy requirement to invoke federal diversity jurisdiction.

 9                              BASIS FOR REMOVAL TO FEDERAL COURT
10            8.        On or about August 24, 2021, Plaintiff BRYON JACKSON (“Plaintiff”) filed a

11 Complaint in the Superior Court of the State of California, County of Alameda under case number

12 RG21110499 (the “Action”), naming Target Corporation as a Defendant. [See Plaintiff’s

13 Complaint, attached hereto as Exhibit 1.] Plaintiff’s Complaint contains one Cause of Action:

14 Assault and Battery.

15            9..       On August 24, 2021, Plaintiff left copy of the Summons of this action with an

16 employee of Defendant at Defendant's retail store located at 2700 Fifth Street, Alameda,

17 California 94501. Neither was said employee a proper agent for service, nor was the complaint

18 served. [See Defendant's Motion to Quash, attached as Exhibit 2.]
19            10.       On September 29, 2021, Defendant filed a Motion to Quash Plaintiff's Complaint.

20 [See Defendant's Motion to Quash, attached as Exhibit 2.]

21            11.       On September 30, 2021, Plaintiff performed service of the Complaint via personal

22 service to an employee of Defendant [See Proof of Service, attached hereto as Exhibit 3.] Under

23 28 U.S.C. § 1446(b)(3), Target Corporation has until November 1,2021 to exercise its right to

24 remove. The filing of this Notice of Removal is therefore timely.

25            12.       This Notice of Removal is timely filed under 28 U.S.C. § 1446(b), which requires a

26 Notice of Removal to be filed within thirty (30) days “after the receipt by the defendant, through
27 service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which

28 such action or proceeding is based….” Moreover, under 28 U.S.C. § 1446(b)(3), “Except as

     4812-1628-1855.1                                     3
                         NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
           Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 4 of 28




 1 provided in subsection (c), if the case stated by the initial pleading is not removable, a notice of

 2 removal may be filed within thirty days after receipt by the defendant, through service of

 3 otherwise, of an amended pleading, motion, order or other paper from which it may first be

 4 ascertained that the case is one which is or has become removable.”

 5                              NOTICE TO PLAINTIFF AND STATE COURT
 6            13.       Pursuant to 28. U.S.C. section 1446(d), with the filing of this Notice of Removal

 7 with this Court, written notice of such filing will be promptly given by the undersigned to

 8 Plaintiff, and the copy of the Notice of Removal will be promptly filed with the Clerk of the

 9 County of Alameda.

10                                      NOTICE TO ADVERSE PARTIES
11            14.       Target Corporation’s Notice to Adverse Party of Notice of Removal will be

12 promptly filed in Action No RG21110499 of the Alameda County Superior Court.

13            15.       Pursuant to the provisions of 28 U.S.C. § 1446, Target Corporation attaches

14 herewith and incorporates herein by reference, copies of the following documents served by the

15 parties in this action:

16            a)        Plaintiff’s Complaint for Damages And Statement of Damages [Exhibit 1].
17            b)        Plaintiff's Proof of Service [Exhibit 2].
18            c)        Defendant's Motion to Quash [Exhibit 3].
19 ///

20 ///

21 ///

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     4812-1628-1855.1                                      4
                         NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
           Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 5 of 28




 1                                                 PRAYER
 2            WHEREFORE, TARGET CORPORATION prays that the above-entitled action, formerly

 3 pending in the Superior Court of California, Alameda be removed therefrom to the United States

 4 District Court for the Northern District of California and that this action proceed in that Court as

 5 an action properly removed thereto.

 6

 7                                         DEMAND FOR JURY
 8            Target Corporation hereby demands a jury for all claims in this action.

 9

10 DATED: October 27, 2021                      MANNING & KASS
                                                ELLROD, RAMIREZ, TRESTER LLP
11

12

13                                              By:
                                                      David V. Roth
14                                                    Attorneys for Defendant, TARGET
                                                      CORPORATION (erroneously sued herein as
15                                                    Target – Alameda, CA)
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     4812-1628-1855.1                                  5
                        NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 6 of 28




EXHIBIT 1
                                  Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 7 of 28
                                                                                                                                                  LT
                 /
            Boy fang
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number,
                                                                and address):
                                                                                                                                            FOR COURT USE ONLY



                Nardi Vy Pbbos | AoatelaA 9p
                TELEPHONE NO: (0 ) 11                   b ~ HYP           FAX NO. (Optional)
    E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Name):
                                                                                                                                    FEE          TREE
   SUPERIOR COURT OF CALIFORNIA,                             GOUNTY oF;   A]amaghie                                            op                I?
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             STREET ADDRESS:          ERS          ¥         oN      gt
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           cvmommcoos Oakland | CA hd                                                                                            AUG 2 4 2021
                BRANCH    NAME:                          /    \


                  PLAINTIFF
                                    | Bryon Aas                                                                   ro   pot
                                                                                                                             i) si 0




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              DEFENDANT: Alar                                                                                                                            a UY)
                                                ir: _ Moma da.                       CA A qu%50)
   CJooes1to                          2700               Fit               \ Nowgds                Cc   A
   COMPLAINT—Personal Injury, Preperty Damage, Wrongful
           J AMENDED (Number): ~ 1) 10 con Jor ont] dug.
   Type (check all that apply):
  [1]      MOTOR VEHICLE                               OTHER (specify):
           [__] Property Damage                        [|] Wrongful Death
           [1 Personal Injury                          [_] Other Damages (specify):
  Jurisdiction (check all that apply):
                                                                                                                             CASE NUMBER:
  [__] ACTION IS A LIMITED CIVIL CASE
            Amount demanded                   [__] does not exceed $10,000
                                              [1       exceeds $10,000, but does not exceed $25,000
  Zr ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
  [_] ACTION IS RECLASSIFIED by this amended complaint                                                                       RE21110494
          [J from limited to unlimited
          [1        from unlimited to limited
                                                                    /\
 1. Plaintiff (name or names):                1)       on         Jabs
                                                                                               Asorg or - Alameda, CA Gy50)
     alleges causes of action agains Toefondant (name or names):

2. This pleading, including attachments and exhibits, consists of the following
                                                                                number of pages:
3. Each plaintiff named above is a competent adult


                                                                                                            Boon Abson
     a. [__] except plaintiff (name):
                   1)               a corporation qualified to do business in California
                   (2) [J an unincorporated entity (describe):                                                                                             4s
                   (3) [J a public entity (describe):
                   @ [J             aminor    []        an adult
                                                                                                            lor                - Noma, CA
                            (@) [__] for whom a guardian or conservator of the estate =] duardia |
                            (b) [__] other (specify):
                                                                                                                             Hh                  Alda cA
                  (5) [__] other (specify):
     b. [1        except plaintiff (name):
                   (1) [J           a corporation qualified to do business in California
                   (2) [_] an unincorporated entity (describe):
                   (3) [__] a public entity (describe):
                   @ [J aminor [_] an adult
                                    (a) [_]    forwhom a guardian or conservator of the estate or a guardian ad litem has
                                                                                                                          been appointed
                           (b) [__] other (specify):
                  (5) [[_] other (specify):

   1        Information about additional plaintiffs who are not competent aduits is shown in Attachmen
                                                                                                       t 3.
 Form Approved for Optional Use                                                                                                                                         Page 1 of 3
   Judicial Council of California                                 COMPLAINT—Personal Injury, Property                                              Code of Civil Procedure, § 425.12
PLD-P1-001 {Rev. January 1, 2007]                                                                                                                               www.courtinfo.ca.gov
                                                                        Damage, Wrongful Death
                               Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 8 of 28

                                                                                                                                           PLD-PI-001
      SHORT TITLE:                                        .                                                CASE NUMBER:


                                               /
 4. [X Plaintiff (name):            nh        ARTI
              is doing business u        the fictitious name (specify):


              and has complied with the fictitious business name laws.
 5.    Each defendant named above is a natural person
       a. [_] except defendant (name):                                            ¢. [1 except defendant (name):
              (1) [_] a business organization, form unknown                             (1) [_] a business organization, form unknown
              (2) [>< a corporation                                                     (2) <I a corporation
              (3) [__] an unincorporated entity (describe):                             (3) [C_] an unincorporated entity (describe):

                   (4) [J a public entity (describe):                                     (4) [1] a public entity (describe):

                  (6) [_] other (specify):                                                (6) [_] other (specify):



      b. [_] except defendant (name):                                             d. [_] except defendant (name):
                  (1) [_] a business organization, form unknown                           (1) []    abusiness organization, form unknown
                  (2) =<] a corporation                                                   2         a corporation
                  (3) [__] an unincorporated entity (describe):                           (3)       an unincorporated entity (describe):

                   (4) [1 a public entity (describe):                                     (4) [J    a public entity (describe):

                   (5) [_] other (specify):                                               (5) [__1 other (specify):


       [__] Information about additional defendants who are not natural persons is contained in Attachment 5.
 6.     The true names of defendants sued as Does are fen                 ty plaintiff.
        a.            Doe defendants (specify Doe numbers):                   -                     were the agents or employees of other
                      named defendants and acted within the scope]        that agency or employment.
        b.   [__] Doe defendants (specify Doe numbers):                                             are persons whose capacities are unknown to
                  plaintiff.
7.      [_] Defendants who are joined under Code of Civil Procedure section 382 are (names):



8.      This court is the proper court because
        a. [__] atleast one defendant now resides in its jurisdictional area.
        b. [] the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional
                                                                                                                                area.
        ¢. [J injury to person or damage to personal property occurred in its jurisdictional area.
        d. [J other (specify):



9.     [__1 Plaintiff is required to comply with a claims statute, and
        a. Bb        has complied with applicable claims statutes, or
        b. [1 is excused from complying because (specify):




PLD-PI001 [Rev. January 1, 2007]                   COMPLAINT—Personal Injury, Property                                                        Page 2 of 3
                                                              Damage, Wrongful Death
                                      Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 9 of 28

                                                                                                                                                   PLD-PI-001
Fy.




             SHORT TITLE:                                                                                          CASE NUMBER:




        10.      The following causes of action are attached and the statements above apply to
                                                                                               each (each complaint must have one or more
                 causes of action attached):
                 a. [__] Motor Vehicle
                 b. [__] General Negligence
                    [1] Intentional Tort
               ® ao




                       [_] Products Liability
                       [1 Premises Liability
                f. [>Other (specify):
                                                                                                                                      ou           INC
                                                                                      UL          vs         | SITES                 gh!ok we oll                    nw#
                                                                 by      on
                                                                              ti                         I
                                                                                                       Cou    s
                                                                                                           pon.              sys                  y J po + Ie
       11. Plaintiff has suffered                                oR
                     . [J wage loss
                b . [1    loss of use of property                             dam
                c. [1 hospital and medical expen                                                                                    % 000, pod 00
                d.    dona damage         eee                                 ~~           Por    wd                     -            !     20 + 0D
                e. [__] property damage                                       @) —         Lose                         be     -45,        O00     b
                ;
                 .    [loss        of earning capacity                                                                                                    .
                g . [3] other damage               (specify):                 tt) -    5.5                                   A        Y, poo)       obo       WD,


                                                                                                 ai al bs RAN ul T r u 3, dD, OPP 60
                                                                              Ge           Ya pt                    SRL   ii a
                                                                                                                                     $949,000             000-27
        12. [_] The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
                a. [_] listed in Attachment 12.
                b. [_] as follows:




       13.     The relief sought in this complaint is within the jurisdiction of this court,




       14.     Plaintiff prays for judgment for costs of suit; for such relief 2 is fair, just, and equitable; and for
               a. (1) BX] compensatory damages                         10, 599, O00 ©
                      (2) [><] punitive damages                        1 0 900 1000: 0),
                      The amount of damages is (in cases for personal iinjury or wrongful death, you must check
                                                                                                                (1)):
                      (1) (1 according to proof
                      (2) [1 inthe amount of: $
      15.      [_] The paragraphs of this complaint alleged on information and belief are as follows
                                                                                                     (specify paragraph numbers):




      Date:                   |             |



                                          (TYPE OR PRINT NAME)
                                                                                                           (SIGNATURE OF PLAINTIFF OR ATTORNEY)

      PLO-PI-001 (Rev. January 1, 2007]                               COMPLAINT—Personal Injury, Property                                              Page 3 of 3
                                                                              Damage, Wrongful Death
                                   Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 10 of 28

                                                                                                                                                 MC-031
 .          PLAINTIFF/PETITIONER:                     or)    Adtgon                                              CASE NUMBER:
       DEFENDANT/RESPONDENT:                    oa               2100       Yl             A oivgda,        CA

                                                                           DECLARATION
                                     (This form must be attached
                                                              to another form or court paper before it can be filedin court.)


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     w-                           nalty
                                    of perjury under the laws of the State of California    that the foregoing   is true   and co




      "by                                         Ah                                                         ra
                                                                                     J     Attorney for     [J Plaintiff    [1 Petitioner   [] Defendant
                                                                                     [1]    Respondent      [1 Other (Specify):

     m Approved for Optional Use                                 ATTACHED       DECLARATION
     Judicial Council
                  of California
Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 11 of 28




EXHIBIT 2
        Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 12 of 28




 1 David V. Roth (State Bar No. 194648)
    dvr@manningllp.com
 2 Chandra Carr (State Bar No. 315259)
    czc@manningllp.com
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   ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
   San Francisco, California 94111
 5 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 6
   Attorneys for Defendant, TARGET
 7 CORPORATION (erroneously sued herein as
   Target – Alameda, CA)
 8

 9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                    COUNTY OF ALAMEDA
11

12 BRYON JACKSON,                                    Case No. RG21110499

13                 Plaintiff,                        NOTICE OF MOTION AND MOTION OF
                                                     SPECIALLY APPEARING DEFENDANT
14         v.                                        TARGET CORPORATION TO QUASH
                                                     SERVICE OF SUMMONS AND
15 TARGET – ALAMEDA, CA                              COMPLAINT; MEMORANDUM OF
   2700 FIFTH ST ALAMEDA, CA,                        POINTS AND AUTHORITIES
16
                Defendant.                           Hearing Date: November 17, 2021
17                                                   Time:         9:00 am
                                                     Dept:         25
18                                                   Reservation: R-2294275
19                                                   Action Filed:   August 24, 2021
20

21 TO PLAINTIFF BRYON JACKSON AND HIS COUNSEL OF RECORD:

22         PLEASE TAKE NOTICE THAT on November 17, 2021, at 9:00 am, or as soon
23 thereafter as counsel may be heard, in Department 25 of the above-captioned Court, located at

24 1221 Oak Street, Oakland, California 94612, Specially Appearing Defendant Target Corporation,

25 erroneously sued as "Target" (hereinafter “Target Corporation”) will and hereby does move for an

26 order quashing the service of summons and complaint attempted on Specially Appearing

27 Defendant Target Corporation.

28         This motion is made pursuant to Code of Civil Procedure section 418.10, on the grounds

     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
        Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 13 of 28




 1 that the service of summons and complaint has not been properly effectuated on Target

 2 Corporation pursuant to 416.10 (via service on a corporation).

 3          This Motion is based on this Notice of Motion, the attached Memorandum of Points and

 4 Authorities, the Declaration filed concurrently herewith, all of the pleadings, files, and records in

 5 this proceeding, all other matters of which the Court may take judicial notice, and any argument or

 6 evidence that may be presented to or considered by the Court prior to its ruling.

 7 DATED: September 27, 2021                   MANNING & KASS
                                               ELLROD, RAMIREZ, TRESTER LLP
 8

 9

10                                             By:
                                                     Chandra Carr
11                                                   Attorneys for Defendant TARGET
                                                     CORPORATION (erroneousely sued hereain as
12                                                   Target – Alameda, CA)
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                                                      2
     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
          Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 14 of 28




 1

 2                        MEMORANDUM OF POINTS AND AUTHORITIES
 3 I.       INTRODUCTION
 4          Specially Appearing Defendant Target Corporation, erroneously sued as Target

 5 (hereinafter “Target Corporation”) seeks an order quashing the purported service of the summons

 6 and complaint on Target on the grounds that service of the summons and complaint has not been

 7 effectuated on Target Corporation pursuant to Code of Civil Procedure (“CCP”) section 416.10

 8 (via service on a corporation). As proper service has not been effectuated on Target Corporation

 9 to date, the motion to quash service of the summons and complaint is properly granted.1

10 II.      STATEMENT OF FACTS
11          On August 24, 2021, Plaintiff Bryon Jackson (“Plaintiff”) filed a complaint in this instant

12 action. “Target” was the only named defendant. On or about August 24, 2021, Target

13 Corporation's executive team member, Jackie Torres, was personally handed a copy of the

14 summons. Torres Decl. ¶ 1 ( See Declaration of Jackie Torres filed concurrently with this motion.)

15 The copy did not contain the complaint. Torres Decl. ¶ 1. A true and correct copy of the summons

16 is attached as Exhibit A. At no time was Jackie Torres personally served with the complaint.

17 Torres Decl. ¶ 1. Even if the complaint had been handed to Jackie Torres along with the summons,

18 she was not a proper person receive service on behalf of Target Corporation. Torres Decl. ¶ 2.
19
20 III.     THE MOTION TO QUASH PLAINTIFF’S PURPORTED SERVICE OF SUMMONS
21          AND COMPLAINT IS PROPERLY GRANTED
22          CCP section 418.10(a) provides that a defendant may bring a motion to quash service of

23 summons due to lack of jurisdiction. A plaintiff must effectuate proper service of summons in

24 order for the Court to obtain jurisdiction over a putative defendant. Kulko v. Superior Court of

25 California (1978) 436 U.S. 84, 91; Titus v. Superior Court (1972) 23 Cal.App.3d 792, 799.

26 “[C]ourts are very strict in applying the statutory standards for proof of service; failure to strictly

27
     1
28          The instant motion does not constitute a general appearance, as Target is specially
     appearing to quash service of the summons and complaint. See CCP § 418.10(d).
                                                      3
     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
         Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 15 of 28




 1 comply with those standards deprives the court of jurisdiction to act.” Oats v. Oats (1983) 148

 2 Cal.App.3d 416, 420.

 3          Where a putative defendant moves to quash service of summons, the plaintiff bears the
 4 burden of proving facts showing that service was effective. Summers v. McClanahan (2006) 140

 5 Cal.App.4th 403, 413. A defendant, on the other hand, is “not required to present any evidence in

 6 order to establish the invalidity of the service and the resulting lack of personal jurisdiction.” Dill

 7 v. Berquist Construction Co. (1994) 24 Cal.App.4th 1426, 1441.

 8          California Code of Civil Procedure 416.10 states:

 9          A summons may be served on a corporation by delivering a copy of the summons and the
            complaint by any of the following methods:
10
            A summons may be served on a corporation by delivering a copy of the summons and the
11          complaint by any of the following methods:

12          (a) To the person designated as agent for service of process as provided by any
            provision in Section 202, 1502, 2105, or 2107 of the Corporations Code (or Sections 3301
13          to 3303, inclusive, or Sections 6500 to 6504, inclusive, of the Corporations Code, as in
            effect on December 31, 1976, with respect to corporations to which they remain
14          applicable).

15          (b) To the president, chief executive officer, or other head of the corporation, a vice
            president, a secretary or assistant secretary, a treasurer or assistant treasurer, a
16          controller or chief financial officer, a general manager, or a person authorized by the
            corporation to receive service of process... (CCP § 416.10 (a)(b))
17
            In the case at bar, Plaintiff did not perfect service for two reasons. First, only the summons
18
     was left with an Executive Team Leader of Target Corporation. Second, the complaint was not
19
     served. This is reflected on the proof of service signed by Mark Brown, filed on August 24, 2021.
20
     A true and correct copy of the proof of service is attached as Exhibit B. Paragraph three states, I
21
     served the following documents: "2 to 3 Summon." Mark Brown does not attest to serving the
22
     Complaint. This shows adequate grounds for a motion to quash to be properly granted.
23
            Second, the proof of service is defective where it inaccurately identifies Jackie Torres, as a
24
     manger. Paragraph four states, [b]y personally serving copies to the person served, as follows:
25
     "To Jacky -Manager at Target." Jackie Torres was not a manager, not a general manager and not a
26
     person identified by Cal. Civ. Code 416.10 to receive service. Torres Decl. ¶ 1-2.
27
             As of the filing of the instant motion, Target has not been properly served with the
28
                                                       4
     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
         Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 16 of 28




 1 summons and complaint. Plaintiff bears the burden of demonstrating that Target was properly

 2 served. Summers, supra, 140 Cal.App.4th at 413; Dill, supra, 24 Cal.App.4th at 1441. As Plaintiff

 3 cannot do so, and as Target Corporation has not been properly served with a summons and

 4 complaint to date, this motion to quash is properly granted.

 5 IV.     CONCLUSION
 6         For the foregoing reasons, Specially Appearing Defendant Target Corporation respectfully

 7 requests that the Court grant the instant motion and quash the purported service of summons and

 8 complaint on it in this matter.

 9

10 DATED: September 27, 2021                  MANNING & KASS
                                              ELLROD, RAMIREZ, TRESTER LLP
11

12

13                                            By:
                                                    Chandra Carr
14                                                  Attorneys for Defendant TARGET
                                                    CORPORATION (erroneousely sued hereain as
15                                                  Target – Alameda, CA)
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                                                    5
     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 17 of 28




      EXHIBIT A
                                                                                             Page 4 of 4
                       Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 18 of 28




           8-26-2021                           134460H0001                6020210826032507



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       EXHIBIT B
Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 20 of 28
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         Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 22 of 28




 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.

 5        On September 29, 2021, I served true copies of the following document(s) described as
   NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT
 6 TARGET CORPORATION TO QUASH SERVICE OF SUMMONS AND COMPLAINT;
   MEMORANDUM OF POINTS AND AUTHORITIES on the interested parties in this action as
 7 follows:

 8                                  SEE ATTACHED SERVICE LIST
 9         ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the document(s) to the
   persons at the e-mail address(es). This is necessitated during the declared National Emergency
10 due to the Coronavirus (COVID-19) pandemic because this office will be working remotely, not
   able to send physical mail as usual, and is therefore using only electronic mail. No electronic
11 message or other indication that the transmission was unsuccessful was received within a
   reasonable time after the transmission. We will provide a physical copy, upon request only, when
12 we return to the office at the conclusion of the National Emergency.

13          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
14
            Executed on September 29, 2021, at San Francisco, California.
15

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18                                                     Diana Norton
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     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
        Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 23 of 28




 1                                    SERVICE LIST
                           Jackson v. Target - Alameda CA 94501
 2                                 Case No. RG21110499
 3 Bryon Jackson                             Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

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     NOTICE OF MOTION AND MOTION OF SPECIALLY APPEARING DEFENDANT TARGET CORPORATION
     TO QUASH SERVICE OF SUMMONS AND COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES
Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 24 of 28




EXHIBIT 3
                                     Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 25 of 28
                                                                                                                                                                  POS-010
[ATTORNEY OR PARTY h                   ATTORNEY a   , Stata Bar numbar, and address):                                                 FOR COURT USE ONLY          i




                 TELEPHONE NO.: iy
                                                        0 hay
                                                 dhs {luge                                     neh                                                            7
     E-MAIL ACORESS sn (P09) 0 “MN                    ha $A                                       oO       2         « q                    BCT    «1      2021
        ATTORNEY FOR (Name):                                                              AN       ey \ 20
                                                                                                  cOP
                                                                                                                                        fas “Deputy
                                                                                                                        \CLERK OF THE SUM
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF
              sTaeer aooress:        ALAMEDA COUNTY SUPERIOR COURT                           PW                1 ne oft ORG                       A VSS
                                                                                                                                                    RETT                Vis
         MAILING ADDRESS:                   1225 FALLON STREET                           A            Wn   -                                                          WINTr
        CITY AND ZIP CODE:               OAKLAND, CA 94612 4280                                   Q            Naa            Oe      Se!
                BRANCH MAME:                 A           A       ”                                of Ee              i HON
         PLANTIFFPETITIONER:                 %)           ~ ye                           EER (GORE ENUNEER:
 DEFENDANT/RESPONDENT:
                                                                                        azo                              ou Ykiilh
                                                                                                                    Ral, Ma, or Filo Na.
                                      PROOF OF SERVICE OF SUMMONS

                                                  (Separate proof of service is required for each party served.)
1.      At the time of service | was at least 18 years of age and not a party to this action.
2.       | served copies of:
         a.     B<]      summons
                 <I      complaint
      ©




                 1       Alternative Dispute Resolution (ADR) package
       a 0
      ~o




                 1       Civil Case Cover Sheet (served in complex cases only)
                 [1      cross-complaint
                 [1      other (specify documents):
3. a Party served (specify name of party as shown on documents served):                           Auge                     3.4              O A       Ph     od


              [1
                                                                                                                               Alo
                       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                                                                                                                                      [CA Ao)
                       under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
        Sr.




4.      Address where the party was served:                J)Y| DD      Fah iS i Al ode, ) CA Gyo               |

5.      |served the party (check proper box)
        a.         by personal service. | personally delivered the documents                  listed in item 2 to the party or person Re
                        receive service of process for the party (1) on (date):           §|30) 21                  (2) at (time):          1-55 PM                   Mansy       hay.
        b.      1]       by substituted service. On (dafe):                     at (time):            | left the documents listed in item 2 with or
                         in the presence of (name and title or relationship to person indicated in item 3):


                        1       bg     (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                       of the person to be served. | informed him or her of the general nature of the papers.

                        (2)     [3     (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                       place of abode of the party. | informed him or her of the general nature of the papers.
                        (3) SE         (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                       address of the person to be served, other than a United States Postal Service post office box. | informed
                                       him or her of the general nature of the papers.
                        (4)     3      | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                       at the place where the copies were left (Code Civ. Proc., § 415.20). | mailed the documents on
                                       {date):               from (city):                            or       a declaration of mailing is attached.
                        (8)     [J      1attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                      Page 10f2

     Pom Aleph or Mandatory se
       Judcal Counc of California                             PROOF OF SERVICE OF SUMMONS                                                         CoE BE
     POS010 [Rav. Jaruary 1, 2007)
                                         Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 26 of 28
                         .
                                                                    Zs
 :               PLAINTIFF/PETITIONER: 16                  wit APH         ST                                            CASE NUMBER:
      D EFENDANT/RESPONDENT:                           on                    N       Mada              CA     Qis         hG       2)         |   )   199

  5          ¢      [|         bymailand acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the
                               address shown in item 4, by first-class mail, postage prepaid,
                               {1) on (date):                                                       (2) from (city):
                               (3) J           with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                               to me. (Attach completed Notice and Acknowledgement of Receipt.) {Code Civ. Proc., §415.30)
                               (4) [J           to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

         d.        [ iE        by other means (specify means of service and authorizing code section):




                   SE         Additional page describing service is attached.

 6.      The "Notice to the Person Served" (on the summons) was completed as follows:
             a. [1             asanindividual defendant.
                   p<          as the person sued under the fictitious name of (specify):
        ae o




                               as occupant,
                    [1        on behalf of (specify):
                              under the following Code of Civil Procedure section:
                                          [1      416.10 (corporation)                            [1 415.95 (business organization, form unknown)
                                          [1      416.20 (defunct corporation)                    [1 416.60 (minor)
                                          [J      416.30 (joint stock company/association)        [J 416.70 (ward or conservatee)
                                          [J      416.40 (association or partnership)             [1 416.90 (authorized person)
                                          [J     416.50 (public entity)                           [1 415.46 (occupant)
                                                                                                  J other:
 7.     Person who                  served     poo
        a. Name:                 lake lL                        AT                       PANL    Noga                  LAAyof
        b. Address:              | 155 Fo
        c. Telephene nr                          hd
                                                  -             LW
        d. The fee for es
        e.        lam:
                   (1)            not a registered California process server.
                   (2)            exempt from registration under Business and Professions Code section 22350(b).
                   (3)            a registered California process server:
                                  (i)     []       owner     [employee              [|   independent contractor.
                                  (i)        Registration No.
                                  (ii)       County:

8. 5X                    1 declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                         or
8. [_]                   1am a California sheriff or marshal and | certify that the foregoing is true and correct.




                     (li Ve
Date:



                 (NAME C                 ERE               SRRERE   OR   MARSHAL)
                                                                                                                           I —
                                                                                                                             (SIGNATURE   )




PROM Mev. danas; 1.200)                                             PROOF OF SERVICE OF SUMMONS                                                             Page 2 of 2
          Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 27 of 28




 1                                        PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Los Angeles, State of California. My business address is 801 S.
 4 Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

 5 On October 28, 2021, I served true copies of the following document(s) described as NOTICE
   OF REMOVAL BY DEFENDANT TARGET CORPORATION on the interested parties in
 6 this action as follows:
                                   SEE ATTACHED SERVICE LIST
 7
            BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
 8 document(s) to be sent from e-mail address ccm@manningllp.com to the persons at the e-mail
   addresses listed in the Service List. I did not receive, within a reasonable time after the
 9 transmission, any electronic message or other indication that the transmission was unsuccessful.

10        I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
11 Court at whose direction the service was made.

12            Executed on October 28, 2021, at Los Angeles, California.

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14                                                            /s/ Christine Mills
                                                      Christine Mills
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                        NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
          Case 3:21-cv-08458-LB Document 1 Filed 10/29/21 Page 28 of 28




 1                                         SERVICE LIST
                                Jackson v. Target - Alameda CA 94501
 2                                      Case No. RG21110499
 3 Bryon Jackson                                  Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

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                        NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
